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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                   DistrictDistrict
                                              __________    of Columbia
                                                                    of __________


               Charles M. Kupperman, et al.                    )
                             Plaintiff                         )
                                v.                             )      Case No. 19-cv-03224-RJL
      United States House of Representatives, et al.           )
                            Defendant                          )

                                               APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         proposed intervenors CBS Broadcasting Inc. and NBCUniversal Media, LLC                                        .


Date:          11/11/2019                                                              /s/ Matthew E. Kelley
                                                                                         Attorney’s signature


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